            Case 2:24-cv-00592-KKE         Document 4       Filed 05/24/24     Page 1 of 2




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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7
      JOHN PICKERING,                                CASE NO. C24-00592-KKE
 8
                             Plaintiff,
            v.                                       ORDER DENYING IFP
 9
      AMAZON.COM INC et al.,
10
                    Defendants.
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13         The Court, having reviewed Plaintiff’s application to proceed in forma pauperis (IFP), the

14   Report and Recommendation of S. Kate Vaughan, United States Magistrate Judge, and the

15   remaining record, does hereby find and ORDER:

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     ORDER DENYING IFP - 1
            Case 2:24-cv-00592-KKE           Document 4        Filed 05/24/24        Page 2 of 2




 1         (1) The Court adopts the Report and Recommendation;

 2         (2) Plaintiff’s IFP application is DENIED based on financial ineligibility. Plaintiff is

 3             directed to pay the full filing fee of $405.00 no later than June 24, 2024. If the filing

 4             fee is not paid, this case will be dismissed;

 5         (3) The Clerk shall file the complaint only on receipt of the filing fee. If no filing fee is

 6             paid by June 24, 2024, the Clerk is directed to close the file; and

 7         (4) The Clerk is directed to send copies of this Order to Plaintiff and to the Honorable S.

 8             Kate Vaughan.

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10         Dated this 24th day of May, 2024.



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                                                  Kymberly K. Evanson
13                                                United States District Judge

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     ORDER DENYING IFP - 2
